         Case 1:15-cv-06824-PGG Document 169 Filed 03/26/18 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------)(
RUTH DUARTE,

                           Plaintiff,

-vs-                                                            15 Civ. 6824 (PGG)

ST. BARNABAS HOSPITAL,

                           Defendant.
-------------------------------------------------)(

                         BERGSTEIN AFFIRMATION IN OPPOSITION
                        TO DEFENDANT'S MOTION FOR A NEW TRIAL

             STEPHEN BERGSTEIN, having been duly sworn, deposes and states:

             1. Along with Megan Goddard, Gabrielle Vinci and Bruce Gitlin, I am co-counsel to

Plaintiff in this action. I have been brought into the case to assist in handling the post-trial

motions.

             2. Annexed as Exhibit 1 is a copy of the trial transcript in this matter.

             3. Annexed as Exhibit 2 is P)C 7.

             4. Annexed as Exhibit 3 is P)C 12.

             5. Annexed as Exhibit 4 is P)C 13.

             6. Annexed as Exhibit 5 is P)C 14.

             7. Annexed as Exhibit 6 is P)C 15.

             8. Annexed as Exhibit 7 is P)C 23.

Dated:       March 26, 2018
